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                         UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF MICHIGAN


K.B. and M.B., by their mother,
Next Friend, and guardian T.B.,           Case No. 1:18-cv-11795-TLL-PTM
P.S., by his guardian, M.S.,              Hon. Thomas L. Ludington
G.P., by her parent and Next Friend A.P., Magistrate Judge Patricia T. Morris
D.P., by his guardian, T.P.,
G.G., by his mother and Next Friend M.G.,
J.W., by his guardian S.P.,


      Plaintiffs,

v.

MICHIGAN DEPARTMENT OF HEALTH
AND HUMAN SERVICES; NICK LYON,
Director of Michigan Department of Health
and Human Services in his official capacity;
and RICHARD SNYDER, Governor of Michigan,
in his official capacity; jointly and severally,

       Defendants.
__________________________________________________________________/
 MANTESE HONIGMAN, PC
 Attorneys for Plaintiffs              There is no other civil action
 David M. Honigman (P33146)         between these parties arising out of
 dhonigman@manteselaw.com           the same transaction or occurrence
 Gerard V. Mantese (P34424)             as alleged in this complaint
 gmantese@manteselaw.com             pending in this court, nor has any
 Theresamarie Mantese (P53275)       such action been previously filed
 tmantese@manteselaw.com              and dismissed after having been
 Emily S. Fields (P82047)                   assigned to a judge.
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___________________________________________________________________________/

              PLAINTIFFS’ MOTION TO FILE SUR-REPLY IN
           OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS

         Plaintiffs K.B. and M.B., by their mother, Next Friend, and guardian, T.B,

P.S., by his guardian, M.S., G.P., by her parent and Next Friend, A.P, D.P., by his

guardian, T.P., G.G., by his mother and Next Friend, M.G., and J.W., by his

guardian, S.P., respectfully move this Honorable Court for leave to file a short Sur-

Reply brief in opposition to Defendants’ Motion to Dismiss. In support, Plaintiffs

state:
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        1.   Defendants’ Reply Brief includes misrepresentations and inaccuracies,

and incorrect statements of law. For example, Defendants’ Reply Brief states that

Plaintiffs did not attack the adequacy of Notices in their Complaint. This is false.

        2.   Here, Defendants have raised issues for the first time in reply, and

Plaintiff should be given an opportunity to address these issues to correct inaccurate

statements of fact and law.

        3.   Courts in this circuit, and others, have repeatedly held that “a district

court responding to a request for leave to file a sur-reply routinely grants such

motions when a party is unable to contest matters presented to the court for the first

time in the last scheduled pleading.” Laws v. Stevens Transp., Inc., No. 2:12-CV-

544, 2013 WL 4510395, at *2 (S.D. Ohio Aug. 23, 2013) (internal quotations

omitted); Ben-Kotel v. Howard Univ., 319 F.3d 532, 536 (D.C. Cir. 2003).

        4.   New issues should not be raised for the first time in reply briefs.

Scottsdale Ins. Co. v. Flowers, 513 F.3d 546, 553 (6th Cir. 2008) (“[W]e have found

issues to be waived when they are raised for the first time in…replies to responses.”);

U.S. v. Galaviz, 645 F.3d 347, 362 (6th Cir. 2011) (“We do not usually entertain new

arguments raised for the first time in a reply brief.”).

        5.   Additionally, Defendants’ Reply Brief incorporates arguments outside

the scope of Fed. R. Civ. P. 12(b)(6) and, more emphatically than in its prior filings,
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directs the Court to assess the factual basis of Plaintiffs’ Complaint. See ECF No.

21, pp. 4-7.

        6.     Defendants have failed to address, in multiple briefs, the corrective

action provisions within their own contracts with third parties – provisions which

directly contradict arguments Defendants advance in their Reply Brief.

        7.     Defendants continue to miscast the relevance of 42 C.F.R. § 435.903.

        8.     Plaintiffs believe that this Court’s consideration of the issues raised in

Defendants’ Reply would be materially assisted by the proposed Sur-Reply Brief

and therefore respectfully requests leave to file the Sur-Reply Brief attached as

Exhibit A.

        9.     Pursuant to Local Rule 7.1(d), Plaintiffs’ counsel conferred with

Defendants’ counsel in good faith effort to obtain the relief sought, but concurrence

was denied.

      WHEREFORE, for the foregoing reasons, Plaintiffs respectfully request that

this Court permit Plaintiffs to file the attached Sur-Reply Brief in Opposition to

Defendants’ Motion to Dismiss.

                                                MANTESE HONIGMAN, P.C.

                                                Attorneys for Plaintiffs

                                                By: /s/David M. Honigman
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                                                Gerard V. Mantese (P34424)
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Dated: October 29, 2018
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                          CERTIFICATE OF SERVICE
      I hereby certify that on October 29, 2018, a copy of the foregoing Plaintiffs’

Motion to File Sur-Reply in Opposition to Defendants’ Motion to Dismiss, Plaintiffs’

Sur-Reply in Opposition to Defendants’ Motion to Dismiss and this Certificate of

Service was filed electronically with the Clerk of the Court which sends notice by

operation of the Clerk’s electronic filing service to all ECF participants registered to

receive notice in this case.

                                               Respectfully submitted,

                                               JOHN J. CONWAY, P.C.
                                               Attorney for Plaintiff

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Dated: October 29, 2018
